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   9 [Additional counsel continued on following page.]
  10
  11                            UNITED STATES DISTRICT COURT
  12              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13
  14 VANESSA BRYANT,                               CASE NO. 2:20-cv-09582-JFW-E
  15                                               (Lead Case)
             Plaintiff,
  16                                               JOINT NOTICE OF SETTLEMENT
         v.
  17
     COUNTY OF LOS ANGELES, et al.,                Assigned to the Hon. John F. Walter
  18
                                                   and Magistrate Judge Charles F. Eick
  19         Defendants.

  20 CHRISTOPHER L. CHESTER,                       CASE NO. 2:20-cv-10844-JFW-E
  21                   Plaintiff,
  22
                  v.
  23
       COUNTY OF LOS ANGELES, et al.,
  24
                       Defendants.
  25
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       576458.1                                                     Case No. 2:20-cv-09582-JFW-E
                                     JOINT NOTICE OF SETTLEMENT
Case 2:20-cv-09582-JFW-E Document 466 Filed 09/30/22 Page 2 of 3 Page ID #:38124




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                                             2                Case No. 2:20-cv-09582-JFW-E
                                 JOINT NOTICE OF SETTLEMENT
Case 2:20-cv-09582-JFW-E Document 466 Filed 09/30/22 Page 3 of 3 Page ID #:38125




   1              PLEASE TAKE NOTICE that Plaintiff Christopher L. Chester (“Plaintiff”)
   2 and Defendants Los Angeles County Sheriff’s Department, County of Los Angeles,
   3 Los Angeles County Fire Department, Joey Cruz, Rafael Mejia, Michael Russell,
   4 Raul Versales, Arlin Kahan, and Tony Imbrenda (collectively, “Defendants”) have
   5 agreed to settle all claims in the above-entitled action.
   6
   7 DATED: September 30, 2022              OFFICE OF COUNTY COUNSEL
   8
   9
                                            By:   /s/ Jonathan C. McCaverty
  10
                                                  JONATHAN C. McCAVERTY
  11                                              Attorneys for Defendant
  12                                              LOS ANGELES COUNTY SHERIFF’S
                                                  DEPARTMENT
  13
  14 DATED: September 30, 2022              MILLER BARONDESS, LLP
  15
  16
                                            By:   /s/ Jason H. Tokoro
  17
                                                  JASON H. TOKORO
  18                                              Attorneys for Defendants
                                                  COUNTY OF LOS ANGELES and
  19
                                                  LOS ANGELES COUNTY FIRE
  20                                              DEPARTMENT
  21 DATED: September 30, 2022              JEROME M. JACKSON LAW OFFICES
  22
  23
  24                                        By:   /s/ Jerome M. Jackson
                                                  JEROME M. JACKSON
  25                                              Attorneys for Plaintiff
  26                                              CHRISTOPHER L. CHESTER
  27
  28
       576458.1
                                                  3                 Case No. 2:20-cv-09582-JFW-E
                                      JOINT NOTICE OF SETTLEMENT
